       Case 1:23-cr-00177-ABJ Document 53 Filed 02/02/24 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                                )
UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   Criminal No.: 1:23-cr-00177-ABJ
                                                )
SHANE LAMOND,                                   )
                                                )
             Defendant.                         )
                                                )

                                 MOTION TO CONTINUE

             Now comes the defendant, Shane Lamond, by and through undersigned counsel to

     request the Court reset this matter to either July 15th, September 23rd or September 30,

     2024. Mr. Lamond anticipates that the defense case will take longer than originally

     anticipated, for a total trial length of more than two weeks.

             This is the first requested continuance of the trial and is necessary in the interests

     of justice and to permit the defense the necessary time to prepare. Mr. Lamond

     understands his constitutional right to a speedy trial and agrees that the requested delay is

     in the interests of justice and has agreed to waive his right to a speedy trial and to exclude

     the time until October as needed for the requested continuance. Moreover, Mr. Lamond

     and counsel understand that the requested delay is necessary to assure the appearance of

     necessary witnesses and the additional time required for the defense preparation. There is

     no prejudice to the government by the requested delay, while the risks to Mr. Lamond are

     significant if the delay is not granted.

             The government does not consent to the requested delay but has confirmed its

     availability for the proposed dates as supplied by the Court and has asked that the record
  Case 1:23-cr-00177-ABJ Document 53 Filed 02/02/24 Page 2 of 3




reflect that the trial should begin on March 4, 2024. Based on the estimates of the United

States Marshals Service, Mr. Tarrio should be transferred to DC within 30 days (March 2,

2024). Based on the estimates of the parties, Mr. Tarrio’s testimony would not be needed

until March 11, 2023, more than 38 days from today. However, if the Court does not

schedule the trial for March 4, 2024, the Government’s preference is the following (1)

July 15, 2024; (2) September 23, 2024; (3) September 30, 2024, in that order.




Date: February 2, 2024               Respectfully submitted,

                                      /s/ Mark E. Schamel
                                     Mark E. Schamel (Bar No. 463965)
                                     Ana L. Jara (Bar No. 1023086)
                                     Venable LLP
                                     600 Massachusetts Ave NW
                                     Washington, DC 20001
                                     Tel: (202) 344-4631
                                     Fax: (202) 344-8300
                                     Email: meschamel@venable.com
                                             aljara@venable.com

                                     Counsel for Defendant Shane Lamond




                                        2
         Case 1:23-cr-00177-ABJ Document 53 Filed 02/02/24 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2024, I caused a copy of the foregoing, along with the

accompanying attachment, to be sent via the Court’s CM/ECF system to all counsel of record.



                                             /s/ Mark E. Schamel
                                            Mark E. Schamel
